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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                          :
                                                   :
          v.                                       : Case No. 21-CR-23 (TJK)
                                                   :
 JOSHUA PRUITT,                                    :
                                                   :
                                                   :
                   Defendant.                      :

   GOVERNMENT’S NOTICE OF CORRESPONDENCE PURSUANT TO FEDERAL
                     RULE OF EVIDENCE 404(B)

         On February 8, 2022, the Court entered a scheduling order in this cast that, among other

things, directed the government to “notify the Defendant[] of its intention to introduce any

404(b) evidence by April 1, 2022.” ECF No. 39. The government hereby notifies the Court that

earlier today, it provided written notice to counsel for defendant via email, pursuant to Fed. R.

Evid. 404(b), of other crimes, wrongs, or acts that that the government may seek to introduce at

trial.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      DC Bar No. 481052

                                             By:      /s/ Alexis J. Loeb
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